

Wright v State of New York (2020 NY Slip Op 04129)





Wright v State of New York


2020 NY Slip Op 04129


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND TROUTMAN, JJ. (Filed July 17, 2020.) 


MOTION NO. (365/20) CA 18-01698.

[*1]GLASCO WRIGHT, CLAIMANT-APPELLANT,
v STATE OF NEW YORK, DEFENDANT-RESPONDENT. (CLAIM NO. 126445.)



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








